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  UNITED STATES DISTRICT COURT
  EASTERN DISTRICT OF NEW YORK
  -----------------------------------------------------------------X
   IME WATCHDOG, INC.,
                                                                       Case No.: 1:22-cv-1032 (PKC) (JRC)
                                           Plaintiff,
                                                                       STIPULATION OF
                    -against-                                          VOLUNTARY DISMISSAL
                                                                       WITH PREJUDICE AS AGAINST
  SAFA ABDULRAHIM GELARDI, VITO GELARDI,                               NICHOLAS ELEFTERAKIS
  GREGORY ELEFTERAKIS, ROMAN POLLAK,
  ANTHONY BRIDDA, NICHOLAS ELEFTERAKIS,
  NICHOLAS LIAKIS, and IME COMPANIONS LLC,

                                           Defendants.
  -----------------------------------------------------------------X
  SAFA GELARDI and IME COMPANIONS, LLC,

                                     Third-Party Plaintiffs,

                    -against-

  CARLOS ROA,

                                      Third-Party Defendant.
  -----------------------------------------------------------------X
  CARLOS ROA,

                             Third-Party Counter-Claimant,

                    -against-

  SAFA ABUDLRAHIM GELARDI, VITO GELARDI,
  and IME COMPANIONS, LLC,

                             Third-Party Counter-Defendants.
  -----------------------------------------------------------------X
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         IT IS HEREBY STIPULATED AND AGREED, by and between Plaintiff IME

  WatchDog, Inc. and Defendant Nicholas Elefterakis, by and through their respective undersigned

  counsel, that – pursuant to Rule 41(a)(1)(A)(ii) of the Federal Rules of Civil Procedure – Plaintiff’s

  claims in the above-captioned case shall be dismissed in their entirety with prejudice and without

  costs or attorneys’ fees as against Defendant Nicholas Elefterakis.


  DATED: January 15, 2023

  Respectfully submitted,


  /s/ Emanuel Kataev, Esq.
    MILMAN LABUDA LAW GROUP PLLC
    Emanuel Kataev, Esq.
    Counsel for Plaintiff IME WatchDog, Inc.


  /s/ Gennaro Savastano, Esq.
    ELEFTERAKIS, ELEFTERAKIS & PANEK, P.C.
    Gennaro Savastano, Esq.
    Counsel for Defendant Nicholas Elefterakis




   SO ORDERED:

  Hon. Pamela K. Chen, U.S.D.J.




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